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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  JAZZ PHARMACEUTICALS, INC.,                          C.A. No. 21-691-GBW
                 Plaintiff,                            PUBLIC VERSION
                        V.

  AVADEL CNS PHARMACEUTICALS,
  LLC,

                 Defendant.


  JAZZ PHARMACEUTICALS, INC., et al.,                  C.A. No. 21-1138-GBW

                 Plaintiffs,                           PUBLIC VERSION

                        V.

  AVADEL CNS PHARMACEUTICALS,
  LLC,

                 Defendant.

  JAZZ PHARMACEUTICALS, INC., et al.,                  C.A. No. 21-1594-GBW

                 Plaintiffs,                           PUBLIC VERSION

                        V.

  AVADEL CNS PHARMACEUTICALS,
  LLC,

                 Defendant.


                              DECLARATION OF P.J. HONERKAMP

        I, P.J. Honerkamp, declare as follows:

        1.      I am cmTently Senior Vice President and Business Unit Head for the Sleep

 business at Jazz Phannaceuticals, Inc. ("Jazz").




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        2.      In my capacity as a Senior Vice President, I work on projects related to the

 company’s corporate strategy which includes monitoring competitive activity and competitor

 products that are on the market. I also gain significant knowledge about the market through

 regular communication with patients and healthcare providers. In addition, I work with Jazz’s

 market access group and understand the interactions with Pharmacy Benefit Managers (“PBMs”)

 to ensure that third-party payers are covering the drug products marketed by Jazz so that patients

 can receive and use them once a healthcare provider writes a prescription.

        3.      I have personal knowledge of the matters stated in this declaration and would

 testify truthfully to them if called upon to do so.

 I.     BACKGROUND

        4.      I have 20 years of experience in the biopharmaceutical industry.

        5.      I joined Jazz in 2004 in the legal department, and then in 2011 I moved to

 business development, which related to product development, project management, portfolio

 management, strategy, finance, and budgeting and planning. In 2012, I became Vice President

 of Strategic Operations which focused on long-term strategy. Then, in 2014, I became head of

 the Sleep business unit which includes responsibilities for all sales and marketing as it relates to

 our sleep products, as well as preparing for the launches of additional products in development.

        6.      I hold a BA in philosophy from Davidson College and law degree from Harvard

 University.

        7.      Based on my experience in my roles at Jazz, I am familiar with our business

 operations, the markets in which our products compete, and factors that affect the choices sleep

 disorder patients make. In particular, I am familiar with the operations that are relevant to Jazz’s

 current and future sleep products, including their marketing and sales, the significant investment

 into their development as well as their safe distribution, and the likely consequences if Avadel


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 were permitted to continue to market Lumryz™. I am also familiar with Jazz’s interactions with

 PBMs concerning coverage plans relating to Jazz’s products that are managed by the PBMs.

 II.     JAZZ

         8.        Jazz was founded in 2003 and has its corporate headquarters in Dublin, Ireland.

         9.        Jazz is a global biopharmaceutical company dedicated to bringing innovations to

 the market to transform the lives of patients and their families. Jazz is focused on developing

 life-changing medicines for people with serious diseases — often with limited or no options —

 so they can live their lives more fully. Ex. A. Jazz has a substantial pipeline in key therapeutic

 areas including neuroscience (in particular, rare sleep disorders) and oncology. Ex. B.

         10.       Since its early days, Jazz has focused its efforts on bringing meaningful

 treatments for sleep disorders, including narcolepsy, to patients. In particular, as explained

 further below, Jazz has invested heavily in the development and safe distribution of oxybate

 products for the treatment of patients with sleep disorders, including in providing resources to

 patients to help manage their sleep disorders as well as educating physicians about narcolepsy

 and idiopathic hypersomnia generally and the potential of Jazz’s oxybate products to benefit

 their patients.

 III.    JAZZ’S OXYBATE PRODUCTS

         11.       Xyrem® was approved by the United States Food and Drug Administration

 (“FDA”) in 20021 for the treatment of cataplexy in patients with narcolepsy. In 2005, Xyrem

 was also approved for the treatment of excessive daytime sleepiness in patients with narcolepsy.

 In 2018, based on Jazz’s extensive clinical studies, the FDA expanded the approval of Xyrem

 from only adults to patients 7 years of age or older.


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   Xyrem was initially approved under a New Drug Application filed by Jazz’s predecessor,
 Orphan Medical, Inc. Jazz acquired Orphan Medical and Xyrem in 2005.


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        12.     Since its approval, Xyrem has been sold in the United States and has gained a

 loyal following among physicians, many of whom regularly prescribe Xyrem to their patients.

 Accordingly, in the United States, Xyrem established itself as a market-leading treatment for

 patients with the main symptoms of narcolepsy.

        13.     Even after FDA approval of Xyrem, Jazz continued to conduct research on

 oxybate products to create new and better standards of care and further improve the lives of

 patients. Xyrem is taken orally every night when used according to its label. Due to the chronic

 nature of the disorders that Xyrem treats, it is a long-term medication. In other words, patients

 take Xyrem daily. The active ingredient in Xyrem is sodium oxybate. As a result, while very

 effective, Xyrem contains a significant amount of sodium—upwards of 1600 milligrams of

 sodium per night at the highest dose which is equivalent to about four large fast-food fries every

 night. Jazz invested significant time (approximately 10 years) and money into creating an

 oxybate formulation with a greatly reduced chronic sodium burden.

        14.     In July 2020, the FDA approved Jazz’s low-sodium oxybate product, Xywav ® for

 the same indications as Xyrem. Xywav contains approximately 92% less sodium than Xyrem.

 In the time since its launch, Xywav has quickly gained market acceptance, and the sales volume

 for Xywav now exceeds that for Xyrem. In 2023, revenues for Xywav were approximately 2.2

 times the revenues for Xyrem. Ex. C, Jazz 2023 Annual Report Form 10-K at 83. Xywav is

 supplanting Xyrem and is now Jazz’s primary product for the treatment of patients with

 narcolepsy.

        15.     In addition to being indicated to treat narcolepsy patients, the FDA also approved

 Xywav in August 2021 for the treatment of patients with another rare sleep condition called

 idiopathic hypersomnia (“IH”). Xywav was the first and remains the only FDA-approved




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 treatment for patients with IH. IH is a chronic neurological disorder that results in patients

 having excessive daytime sleepiness, even after a full night’s sleep. An estimated 45,000 people

 in the United States have been diagnosed with IH, (Ex. D, Greg Divis trial testimony excerpt at

 519:17-21), and an estimated 37,000 are actively seeking healthcare (Ex. C Jazz 2023 Annual

 Report Form 10-K at 75). At the end of 2023, there were 2,775 patients taking Xywav for IH,

 which represented an increase of 59% compared to 2022. Ex. C, Jazz 2023 Annual Report Form

 10-K at 83.

        16.     Upon its approval, the FDA determined that Xywav is clinically superior to

 Xyrem by means of greater safety because Xywav provides a greatly reduced chronic sodium

 burden compared to Xyrem. Ex. E. In particular, the FDA determined that “[t]he differences in

 the sodium content of the two products at the recommended doses will be clinically meaningful

 in reducing cardiovascular morbidity in a substantial proportion of patients for whom the drug is

 indicated.” Id. Based on its clinical superiority, Xywav received marketing exclusivity for its

 narcolepsy indication to July 2027 and for its IH indication to August 2028.

        17.     While Xyrem remains available for patients, Jazz only promotes Xywav because

 of its clinically superior safety profile. Jazz markets Xywav based on its greatly reduced chronic

 sodium burden compared to Xyrem. Ex. F.

        18.     Xyrem and Xywav are very effective and have secured significant market share,

 leading Jazz to be well known as the market leader in sleep.




        19.     Also, in 2017 and 2018, Jazz settled patent litigations relating to Xyrem under

 which, among other things, Hikma Pharmaceuticals PLC (“Hikma”) and Amneal




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 Pharmaceuticals LLC (“Amneal”) are permitted to market Authorized Generic (“AG”) versions

 of sodium oxybate in the United States. An AG is a generic version of a brand name drug, such

 as Xyrem, that is marketed under the brand company’s New Drug Application with the brand

 company’s permission. Hikma launched its AG version of sodium oxybate in the United States

 beginning in January 2023. Amneal launched its AG version of sodium oxybate in July 2023.

 Jazz both sells the AG product to Hikma and Amneal and receives royalties from Hikma and

 Amneal for their end sales of the AG versions of Xyrem. See, e.g., Ex. C, Jazz 2023 Annual

 Report Form 10-K at 35.

        20.     As I explain in more detail below, the launch of Avadel’s Lumryz product, a

 once-at-bedtime sodium oxybate product, has led to the loss of sales of Jazz’s oxybate products

 in the United States.

                                                              Avadel’s marketing of Lumryz is also

 having an effect on Jazz’s ability to market itself and its low-sodium oxybate product, Xywav.

 IV.    EFFECT OF THE LAUNCH OF AVADEL’S LUMRYZ PRODUCT

        A.      Xyrem and Xywav Patients Who Avadel Has Switched to Lumryz

        21.     Xyrem and Xywav are critical products for Jazz and patients with cataplexy

 and/or excessive daytime sleepiness (or, with respect to Xywav, IH). Jazz’s oxybate products

 account for a significant portion of Jazz’s total revenues. In 2023, sales of Jazz’s oxybate

 products in North America amounted to $1.84 billion (Ex. C, Jazz 2023 Annual Report Form 10-

 K at 83) of Jazz’s total product revenues of $3.8 billion. Id.

        22.     Avadel’s launch of its Lumryz product in June 2023 has reduced Jazz’s market

 share, including primarily in the form of patients who Avadel has switched from Xyrem or

 Xywav to Lumryz.




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        23.     Because of, among other things, their potential for abuse, misuse, or diversion, the

 distribution of FDA-approved oxybate products is strictly controlled. Xyrem and Xywav are

 distributed through a certified central pharmacy that is operated by Express Scripts Specialty

 Distribution Services, Inc. Ex. C, Jazz 2023 Annual Report Form 10-K at 37. Lumryz is

 distributed through certain certified pharmacies as well. Before Lumryz is dispensed to a patient,

 the certified Lumryz pharmacy must first contact Jazz’s central pharmacy to verify that the

 patient has no other active prescription for an oxybate product that overlaps with the Lumryz

 prescription. Ex. G, Lumryz Certified Pharmacy Training at 8.




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                     nd public statements by Avadel, Jazz has every reason to expect that Avadel

 will continue to seek to switch active Xyrem and Xywav patients to Lumryz going forward. Ex.

 I March 11, 2024 presentation at 10-12; see also Ex. J, March 18, 2024 presentation at 10



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 (“[T]he majority of our enrollments and patientship product being switch patients from the first

 generation oxybate more coming from Xywav than from Xyrem.”).

        B.      Rebates to Pharmacy Benefit Managers

        27.     As part of its business, Jazz negotiates with third-party payors to ensure that

 patients receive adequate coverage and reimbursement for Jazz’s products. Ex. C, Jazz 2023

 Annual Report Form 10-K at 40. Currently, over 90% of commercially covered lives have

 coverage for Xyrem and Xywav. Id. at 7. The negotiations regarding the price paid for the drug

 to be provided to these patients are often conducted through PBMs.

        28.     PBMs are involved in various aspects of pharmaceutical market transactions,

 including through the management and administration of prescription drug benefits for insurers

 and other plan sponsors such as large employers or unions. As part of their work with insurers

 and other plan sponsors, PBMs negotiate prices for patients covered by an insurance plan. In

 these negotiations with drug manufacturers, the PBMs seek rebates from the drug manufacturers’

 Wholesale Acquisition Cost (“WAC”), which is the price paid for drugs purchased from the drug

 manufacturer. PBMs typically negotiate these WAC-based rebates and other discounts with drug

 manufacturers for their clients and provide formulary offerings for their clients to determine

 which drugs are covered under a given health plan and on what tier. See Ex. K, Kaiser Family

 Foundation, “Follow The Pill: Understanding the U.S. Commercial Pharmaceutical Supply

 Chain,” March 2005, at p. 14.

        29.




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        30.     The three largest PBMs in the United States are CVS Caremark, OptumRx, and

 Express Scripts PBM. Together, these three PBMs control approximately 80% of covered

 patients in the United States. Ex. L.




 4
   “Zinc” refers to the CVS Caremark’s Group Purchasing Organization (“GPO”) that negotiates
 with pharmaceutical companies on price. Similarly, “Emisar” refers to OptumRx’s GPO, and
 “Ascent” refers to Express Scripts PBM’s GPO.


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        C.      The Effect of Lumryz’s Marketing on Jazz’s Marketing

        34.     Avadel’s marketing campaign against Xywav is also detrimental to Jazz’s

 reputation. As mentioned above, Jazz markets Xywav by focusing on its greatly reduced chronic

 sodium burden compared to Xyrem. Ex. F. Avadel, however, is communicating to the sleep

 disorder community that sodium is supposedly not a concern for oxybate-treated patients. Ex. O

 at 41-42; Ex. I, March 11, 2024 presentation at 10-12 (“[I]f you think about the impact of the

 salt, magnesium, calcium, potassium, or sodium, that really doesn’t do anything different to the

 narcolepsy outcome for the GHB.”). This will likely cause the sleep disorder community to

 question the information that Jazz is providing, therefore harming Jazz’s reputation as a trusted

 source of sleep-disorder-related information.

        35.     Avadel’s Lumryz also threatens Jazz’s ability to market itself as the exclusive

 market leader in sleep. Avadel is projecting that it will take 50-60% of the oxybate-treated

 market, which would reduce Jazz’s narcolepsy market share to 10% or less. See Ex. O. Jazz

 losing the ability to market itself as the exclusive market leader in sleep will harm its position

 and reputation in the sleep disorder community, which includes physicians, patients, and

 patient’s family members. Jazz currently offers the JazzCares patient support program which

 includes nurse-educators who offer patient engagement to discuss patient‑specific insights and

 strategies, help patients stay on track with treatment, and provide comprehensive information

 about Jazz’s support programs. Ex. P. Through these patient support services, Jazz is seen as

 the market leader in the sleep disorder space which is critical for both maintaining patients and

 gaining new ones who have recently been diagnosed with a sleep disorder for which Jazz’s

 products are indicated.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 12, 2024, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

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